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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

WENDY MARTIN,                                 )
                                                                  Approved on 12/29/15.
                                              )
               Plaintiff,                     )                   s/William T. Lawrence, Judge
                                              )                   Notice via ECF
       v.                                     )       Case No.: 1:14-cv-1460-WTL-DKL
                                              )
CITY OF INDIANAPOLIS,                         )
MARION COUNTY                                 )
PROSECUTOR’S OFFICE, and                      )
AUTORETURN INDIANA, LLC,                      )
                                              )
               Defendants.                    )

                                STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a), the parties hereby stipulate to the

dismissal of this matter in its entirety, with prejudice. Each party shall be responsible for its own

attorney’s fees and costs.

                                      Respectfully submitted,


 s/Alex                                             s/Mark J. Crandley
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